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IN THE UNITED STATES DISTRICT COURT
FOR THE NORTHERN DISTRICT OF TEXAS
DALLAS DIVISION
COLLINGWOOD USA, INC., et al., |
Plaintiffs, |
V. | Case No. 3:20-cv-189-S-BT
AHMAD ATWAN, et al.,

Defendants. |

ORDER ACCEPTING FINDINGS, CONCLUSIONS, AND
RECOMMENDATION OF THE UNITED STATES MAGISTRATE JUDGE

The Court has under consideration the Findings, Conclusions, and
Recommendation of United States Magistrate Judge Rebecca Rutherford dated August
28, 2020. The Court has made a de novo review of those portions of the proposed
Findings, Conclusions, and Recommendation to which objections were made. The
objections are overruled.

Accordingly, Plaintiffs’ Motion to Remand (ECF No. 10) is GRANTED, and this
case is REMANDED to the 116th District Court of Dallas County, Texas. The Clerk of Court
is directed to effect this remand in accordance with the usual procedure. Additionally,

Plaintiffs’ request for attorney’s fees, costs, and expenses is DENIED.

SO ORDERED.
SIGNED October 2, 2020. Keun het —

KAREN GREN SCHOLER
UNITED STATES DISTRICT JUDGE

 
